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                        UNITED STATES DISTRICT COURT

                              DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,               CR NO. 17-00101 LEK

                    Plaintiff,

        vs.

  ANTHONY T. WILLIAMS,

                    Defendants.


          ORDER DENYING “DEFENDANT’S ‘PRIVATE ATTORNEY GENERAL
           ANTHONY WILLIAMS MOTION FOR JUDGMENT OF ACQUITTAL’”

              Before the Court is pro se Defendant Anthony T.

  Williams’s (“Defendant”) motion seeking a judgment of acquittal

  (“Motion”), filed on March 15, 2020.         [Dkt. no. 955.]     Plaintiff

  United States of America (“the Government”) filed its response

  to the Motion on March 30, 2020.        [Dkt. no. 964.]     On March 30,

  2020 and April 3, 2020, Defendant filed documents that have been

  construed as supplements to the Motion (“3/30/20 Supplement” and

  “4/3/20 Supplement”).      [Dkt. no. 960, 968.]      On May 5, 2020, the

  Government filed its response to the 3/30/20 Supplement and the

  4/3/20 Supplement.     [Dkt. no. 985.]      On June 5, 2020, Defendant

  filed his reply to the Government’s responses (“Reply”), and he

  filed a declaration in support of the Reply on June 8, 2020.

  [Dkt. nos. 1019, 1021.]      The Court finds this matter suitable

  for disposition without a hearing pursuant to Rule LR7.1(c) of
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  the Local Rules of Practice for the United States District Court

  for the District of Hawaii (“Local Rules”).          Defendant’s Motion

  is hereby denied for the reasons set forth below.

                                  BACKGROUND

  I.    Procedural History

               The original Indictment in this case was filed on

  February 15, 2017.     [Dkt. no. 1.]      The Superseding Indictment

  was filed on March 28, 2018, charging Defendant with fifteen

  counts of wire fraud, in violation of 18 U.S.C. § 1343, and

  seventeen counts of mail fraud, in violation of 18 U.S.C.

  § 1341.    [Dkt. no. 154.]

               Defendant’s jury trial began with jury selection on

  February 3, 2020.     [Amended Minutes, filed 2/3/20 (dkt.

  no. 925).]    On February 18, 2020, the Government rested its

  case, and Defendant filed his Motion for Judgment of Acquittal,

  pursuant to Fed. R. Crim. P. 29(a) (“Rule 29(a) Motion”).

  [Minutes, EP: Further Jury Trial – 9th day, filed 2/18/20 (dkt.

  no. 909) (“2/18/20 Minutes”), at 1; Rule 29(a) Motion, filed

  2/18/20 (dkt. no. 903).]       After hearing arguments on the

  Rule 29(a) Motion, this Court denied the motion, orally and in

  an entering order.     [2/18/20 Minutes at 1; Minute Order, EO:

  Order Denying Motion for Judgment of Acquittal Pursuant to

  Rule 29, Fed. R. Crim. P., filed 2/18/20 (dkt. no. 904).]             At

  the close of all evidence, Defendant stated he was going to

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  renew his motion for judgment of acquittal in a written filing.

  [Amended Minutes, EP: Further Jury Trial – 14th day, filed

  2/26/20 (dkt. no. 934), at 2.]

              On March 2, 2020, the Court’s jury instructions were

  read and the parties’ closing arguments were given, and the jury

  began its deliberations.       [Minutes, EP: Further Jury Trial –

  15th day, filed 3/2/20 (dkt. no. 941).]         As to the wire fraud

  counts, the jury was instructed:

              In order for a defendant to be found guilty of
              that charge, the government must prove each of
              the following elements beyond a reasonable doubt:

                   First, the defendant knowingly participated
              in, or devised a scheme or plan to defraud, or a
              scheme or plan for obtaining money or property by
              means of false or fraudulent pretenses,
              representations, or promises. Deceitful
              statements of half-truths may constitute false or
              fraudulent representations;

                   Second, the statements made or facts omitted
              as part of the scheme were material; that is,
              they had a natural tendency to influence, or were
              capable of influencing, a person to part with
              money or property;

                   Third, the defendant acted with the intent
              to defraud, that is, the intent to deceive or
              cheat; and

                   Fourth, the defendant used, or caused to be
              used, an interstate wire communication to carry
              out or attempt to carry out an essential part of
              the scheme.

  [Jury Instructions, filed 3/2/20 (dkt. no. 939), at 21-22 (Jury

  Instruction No. 18).]      The jury instruction for the mail fraud


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  counts was similar.      See id. at 24-25 (Jury Instruction No. 20).

  Jury Instruction No. 18 and Jury Instruction No. 20 were

  originally proposed by the Government and were taken from the

  Ninth Circuit Model Criminal Jury Instructions No. 8.124 and

  No. 8.121, respectively.       [Government’s [Proposed] Jury

  Instructions, filed 1/22/20 (dkt. no. 790), at PageID #: 6917-18

  ([Proposed] Instruction No. 28), 6920-21 ([Proposed] Instruction

  No. 30).]    Those instructions were given by agreement of the

  parties.1    The jury was also instructed:

                   You may determine whether a defendant had an
              honest, good faith belief in the truth of the
              specific misrepresentations alleged in the
              indictment in determining whether or not the
              defendant acted with intent to defraud. However,
              a defendant’s belief that the victims of the
              fraud will be paid in the future or will sustain
              no economic loss is no defense to the crime.

  [Jury Instructions at 26 (Jury Instruction No. 21).]             This

  instruction was originally proposed by Defendant and was based

  on United States v. Molinaro, 11 F.3d 853, 863 (9th Cir. 1993).

  [Def.’s Suppl. Points and Authorities Re Jury Instructions,

  filed 2/19/20 (dkt. no. 914), Decl. of Counsel, Exh. D (Def.’s

  Proposed Instruction 1-B).]       The Government argued that, under

  United States v. Shipsey, 363 F.3d 962, 967 (9th Cir. 2004), a

  good faith instruction was not required because the jury

        1The jury instructions were settled during a February 21,
  2020 status conference. [Minutes, filed 2/21/20 (dkt.
  no. 924).]


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  instructions regarding the intent to deceive or cheat were

  adequate as to the state of mind required for convictions of the

  charged offenses.     Ultimately, Defendant’s Proposed

  Instruction 1-B was given over the Government’s objection as

  Jury Instruction No. 21.

               On March 3, 2020, the jury returned a verdict of

  guilty on all counts.      [Verdict Form, filed 3/3/20 (dkt.

  no. 947).]

  II.   The Motion and Supplements

               The Motion summarizes the trial testimony of each of

  the Government’s witnesses and argues why the testimony supports

  acquittal.    [Motion, Decl. of Counsel, Exh. A (motion sent, in

  multiple parts, by email on 2/17/20 and 3/11/20 from Defendant

  to his stand-by counsel) at PageID #: 8141-61.]           It also argues

  the Government failed to prove the elements of mail fraud and

  wire fraud; [id. at PageID #: 8162-64;] and Defendant, who did

  not commit any crime, was subjected to a selective prosecution

  because of discrimination and retaliation, [id. at PageID

  #: 8164].    The 3/30/20 Supplement adds the argument that

  Defendant’s prosecution in this case violates the Fifth




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  Amendment’s prohibition against double jeopardy.           [3/30/20

  Suppl., Decl. of Counsel, Exh. A.2]

              The 4/3/20 Supplement adds the argument that Jury

  Instruction No. 18 and Jury Instruction No. 20 were improper in

  light of the Ninth Circuit’s recent decision in United States v.

  Miller, 953 F.3d 1095 (9th Cir. 2020).         Defendant contends that

  the jury instruction error supports a judgment of acquittal or,

  in the alternative, a new trial pursuant to Fed. R. Crim. P. 33.

  [4/3/20 Suppl., Decl. of Counsel, Exh. A (Points and Authorities

  Re Additional Issues).3]

                                   STANDARDS

  I.    Rule 29

              Fed. R. Crim. P. 29(c)(1) states: “A defendant may

  move for a judgment of acquittal, or renew such a motion, within

  14 days after a guilty verdict or after the court discharges the

  jury, whichever is later.”       Rule 29(c) motions are evaluated




        2 Exhibit A is an excerpt of an email that Defendant sent to
  his stand-by counsel. [3/30/20 Suppl., Decl. of Counsel at
  ¶ 2.]
        3 Unlike the majority of Defendant’s other filings,

  Defendant’s stand-by counsel wrote the 4/3/20 Supplement, in its
  entirety, at Defendant’s request and direction. Counsel states
  Defendant is experiencing increased limitations to his computer
  access and legal research time because of a facility lock-down
  in response to the coronavirus pandemic. [4/3/20 Suppl., Decl.
  of Counsel at ¶¶ 7-8.]



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  under a sufficiency of the evidence standard.          Miller, 953 F.3d

  at 1108.    This district court has stated:

                   The Supreme Court has created a two-part
              inquiry for determining whether a jury verdict
              can withstand a defendant’s challenge based on
              the sufficiency of the evidence. See United
              States v. Nevils, 598 F.3d 1158, 1164 (9th Cir.
              2010) (en banc) (citing Jackson v. Virginia, 443
              U.S. 307, 319 (1979)).[4] First, the court “must
              consider the evidence presented at trial in the
              light most favorable to the prosecution.” Id.
              (citing Jackson, 443 U.S. at 319). The court
              “must bear in mind that it is the exclusive
              function of the jury to determine the credibility
              of witnesses, resolve evidentiary conflicts, and
              draw reasonable inferences from proven facts.”
              United States v. Rojas, 554 F.2d 938, 943 (9th
              Cir. 1977) (internal quotation marks omitted);
              see also United States v. Alarcon-Simi, 300 F.3d
              1172, 1176 (9th Cir. 2002). As a result, “when
              ‘faced with a record of historical facts that
              supports conflicting inferences’ a reviewing
              court ‘must presume — even if it does not
              affirmatively appear in the record — that the
              trier of fact resolved any such conflicts in
              favor of the prosecution, and must defer to that
              resolution.’” Nevils, 598 F.3d at 1163 (quoting
              Jackson, 443 U.S. at 326); see also United States
              v. Reyes-Alvarado, 963 F.2d 1184, 1188 (9th Cir.
              1992) (“Circumstantial evidence and inferences
              drawn from it may be sufficient to sustain a
              conviction.”).

                   “Second, after viewing the evidence in the
              light most favorable to the prosecution, the
              reviewing court must determine whether this
              evidence, so viewed, is adequate to allow “any
              rational trier of fact [to find] the essential
              elements of the crime beyond a reasonable doubt.”

        4Jackson was superseded, in part, on other grounds by 28
  U.S.C. § 2254(d). See, e.g., United States v. Markham, No.
  CR F 08-065 LJO, 2010 WL 2650717, at *9 (E.D. Cal. July 1,
  2010).


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               Nevils, 598 F.3d at 1163 (quoting Jackson, 443
               U.S. at 319). The question the court must ask is
               not “whether it believes that the evidence at the
               trial established guilt beyond a reasonable
               doubt,” but “rather whether ‘any’ rational trier
               of fact could have made that finding.” Id.
               (quoting Jackson, 443 U.S. at 318-19).

  United States v. Teves, CRIM. NO. 11-00503(3) JMS, 2013 WL

  12212918, at *1 (D. Hawai`i Nov. 22, 2013) (emphasis and some

  alterations in Teves); see also United States v. Johnson, 874

  F.3d 1078, 1080-81 & n.2 (9th Cir. 2017) (stating the district

  court’s sufficiency of the evidence ruling in the Rule 29(c)

  context is reviewed de novo and applying the two-step Jackson

  analysis).

  II.   Rule 33

               Fed. R. Crim. P. 33(a) states, in pertinent part:

  “Upon the defendant’s motion, the court may vacate any judgment

  and grant a new trial if the interest of justice so requires.”

  This district court has stated:

               A motion for new trial “is directed to the
               discretion of the judge” and should be granted
               “only in exceptional cases in which the evidence
               preponderates heavily against the verdict.”
               United States v. Pimentel, 654 F.2d 538, 545 (9th
               Cir. 1981) (quotation marks omitted); accord
               United States v. Mack, 362 F.3d 597, 600 (9th
               Cir. 2004) (reviewing the denial of a motion for
               new trial under Rule 33(a) under an abuse of
               discretion standard). A district court’s power
               to grant a motion for new trial is much broader
               than its power to grant a motion for judgment of
               acquittal, United States v. Alston, 974 F.2d
               1206, 1211 (9th Cir. 1992) . . . .


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  United States v. Gear, CRIM. NO. 17-000742 SOM, 2019 WL 4396139,

  at *2 (D. Hawai`i Sept. 13, 2019), appeal filed, (9th Cir.

  Oct. 9, 2019).     It is Defendant’s burden to establish that a new

  trial is warranted.      See, e.g., United States v. Kapahu, CR.

  NO. 16-00453 SOM, 2017 WL 2524838, at *2 (D. Hawai`i June 9,

  2017) (citing United States v. Endicott, 869 F.2d 452, 454 (9th

  Cir. 1989)).

                   In reviewing a motion for a new trial, a
              court “need not view the evidence in the light
              most favorable to the verdict; it may weigh the
              evidence and in so doing evaluate for itself the
              credibility of the witnesses.” United States v.
              Alston, 974 F.2d 1206, 1211 (9th Cir. 1992)
              (quoting United States v. Lincoln, 630 F.2d 1313,
              1319 (8th Cir. 1980)). The Court may draw upon
              the information gained from presiding over the
              trial. Balestreri v. United States, 224 F.2d
              915, 917 (9th Cir. 1955). . . .

  United States v. Ferreira, Crim. No. 07-00608 HG-02, 2011 WL

  6012515, at *4 (D. Hawai`i Nov. 30, 2011).

                                  DISCUSSION

  I.    Motion for Judgment of Acquittal

        A.    Entitlement Based on Miller

              James Miller was tried and convicted of nine counts,

  including five counts of wire fraud, in violation of § 1343.

  Miller, 953 F.3d at 1100.       At trial, Miller requested a jury

  instruction stating that the required intent for a wire fraud

  conviction was an intent to “‘deceive and cheat’” the victim,

  MWRC Internet Sales, LLC (“MWRC”).        Id.   The district court

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rejected Miller’s proposed instruction and, over Miller’s

objection, gave the government’s proposed instruction, which was

taken from the Ninth Circuit’s model instruction and stated the

required intent was to “‘deceive or cheat.’”          Id. at 1100-01

(emphasis in Miller).

           On appeal, Miller argued the instruction given was a

misstatement of the law.      The Ninth Circuit noted: “As thus

stated in the alternative, Miller could theoretically have been

convicted of deceiving MWRC . . . , even if he had no intent to

cheat MWRC, that is to, ‘deprive [MWRC] of something valuable by

the use of deceit or fraud.’”       Id. at 1101 (some alterations in

Miller) (quoting Merriam-Webster’s Collegiate Dictionary, 10th

ed. (1997)).    The Ninth Circuit agreed the instruction

presenting the alternative was erroneous because,

           [l]ike the mail fraud statute from which it is
           derived, the wire fraud statute, in plain and
           simple language, criminalizes the use of
           interstate wires to further, not mere deception,
           but a scheme or artifice to defraud or obtain
           money or property, i.e., in every day parlance,
           to cheat someone out of something valuable. It
           follows that to be guilty of wire fraud, a
           defendant must act with the intent not only to
           make false statements or utilize other forms of
           deception, but also to deprive a victim of money
           or property by means of those deceptions. In
           other words, a defendant must intend to deceive
           and cheat.

Id. (emphasis in original).       Prior Ninth Circuit cases,

including Shipsey, upheld the model jury instruction with the


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“deceive or cheat” language, but Miller overruled those cases in

light of Shaw v. United States, 137 S. Ct. 462 (2016), and

“h[e]ld that wire fraud requires the intent to deceive and cheat

— in other words, to deprive the victim of money or property by

means of deception.”     Miller, 953 F.3d at 1102-03.        However, the

Ninth Circuit ultimately held that the erroneous instruction

given at Miller’s trial was harmless.        Id. at 1103-04.

           Defendant’s 4/3/20 Supplement argues Miller is both an

additional ground supporting his request for a judgment of

acquittal and grounds for a new trial.         Although Defendant

argues the analysis and holding in Miller warrant a judgment of

acquittal, he does not argue the erroneous instructions, in and

of themselves, warrant a judgment of acquittal.5          Instead, he

argues the erroneous instructions contributed to the

Government’s failure to present sufficient evidence to support

his convictions.     See 4/3/20 Suppl., Decl. of Counsel, Exh. A

(Points & Authorities Re Additional Issues) at ¶ 6 (“Because the

Government did not present direct evidence of Defendant’s

intent, the erroneous jury instructions add[] to the gravity of


     5 This district court liberally construes the filings of pro
se defendants in criminal cases. See, e.g., United States v.
Sullivan, CR. NO. 17-00104 JMS-KJM, 2020 WL 589526, at *1 (D.
Hawai`i Feb. 6, 2020). However, because Defendant’s stand-by
counsel wrote the 4/3/20 Supplement, it is not necessary to
liberally construe that filing.



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the failure of the Government’s proof in this case.”).

Defendant’s argument that Miller supports his request for a

judgment of acquittal will therefore be addressed in the context

of Defendant’s sufficiency of the evidence argument.

     B.     Sufficiency of the Evidence

            Defendant contends the Government failed to present

sufficient evidence to prove the elements of mail and wire

fraud.    As to Counts 1 to 15, the Superseding Indictment

alleged:

                 On or about the dates stated, within the
            District of Hawaii and elsewhere, for the purpose
            of executing, and attempting to execute, the
            aforesaid scheme and artifice to defraud,
            Defendants, ANTHONY T. WILLIAMS, ANABEL CABEBE,
            and BARBARA WILLIAMS, did knowingly transmit, and
            cause to be transmitted, in interstate and
            foreign commerce, by means of wire
            communications, certain signs, signals and
            sounds, that is, the following wirings, with each
            such wire communication constituting a separate
            count of this Indictment[.]

[Superseding Indictment at ¶ 33 (emphases in original).]            The

Superseding Indictment thereafter lists two Moneygram wirings

(Counts 7 and 8) and thirteen email messages.          [Id. at pg. 18.]

            As to Counts 16 to 32, the Superseding Indictment

alleged:

                 On or about the dates stated, in the
            District of Hawaii and elsewhere, for the
            purposes of executing or attempting to execute
            the above-described scheme and artifice to
            defraud, Defendants, ANTHONY T. WILLIAMS, ANABEL
            CABEBE, and BARBARA WILLIAMS, knowingly caused to

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             be delivered by mail and a private and commercial
             interstate carrier according to the direction
             thereon, the following matter, with each
             constituting a separate count of this
             Indictment[.]

[Id. at ¶ 35 (emphases in original).]        The Superseding

Indictment thereafter lists one mailed letter (Count 16) and

sixteen mailed mortgage payments.         [Id. at pgs. 19-20.]

                  To convict a defendant of wire fraud, the
             jury must find beyond a reasonable doubt:
             “(1) the existence of a scheme to defraud;
             (2) the use of wire . . . to further the scheme;
             and (3) a specific intent to defraud.” United
             States v. Jinian, 725 F.3d 954, 960 (9th Cir.
             2013). In order to prove a “scheme to defraud,”
             the jury must find that the defendant employed
             “material falsehoods.” Neder [v. United States],
             527 U.S. [1,] 20, 119 S. Ct. 1827 [(1999)]. “In
             general, a false statement is material if it has
             ‘a natural tendency to influence, or [is] capable
             of influencing, the decision of the
             decisionmaking body to which it was addressed.’”
             Id. at 16, 119 S. Ct. 1827 (alteration in
             original) (quoting [United States v.] Gaudin, 515
             U.S. [506,] 509, 115 S. Ct. 2310 [(1995)]).

United States v. Lindsey, 850 F.3d 1009, 1013–14 (9th Cir. 2017)

(emphasis and some alterations in Lindsey).         Mail fraud has

similar elements.     See United States v. Lo, 839 F.3d 777, 788

n.5 (9th Cir. 2016) (stating “the essential elements of a mail

fraud offense include: (1) a scheme to defraud; (2) materiality

of the statements made in furtherance of the scheme; (3) an

intent to defraud; and (4) use of the mails” (citation

omitted)).    As previously stated, under Miller, an intent to

defraud for either wire fraud or mail fraud “requires the intent

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to deceive and cheat — in other words, to deprive the victim of

money or property by means of deception.”         953 F.3d at 1103

(emphasis in original).

            1.   Use of Wires and the Mail

            The Government presented exhibits showing the wire

transfers of money, the emails, and the mail, described in the

Superseding Indictment.      See Tr. Exhs. 6, 8 (Moneygram wirings);

Tr. Exhs. 3-5, 7, 9-12 (emails); Tr. Exhs. 2, 101-32, 134-41

(exhibits showing use of the mail).        Each of these was sent by

or received by either Defendant or his co-defendant, Barbara

Williams, who was acting on behalf of Defendant’s entity,

Mortgage Enterprise Investments (“MEI”).         Thus, the trial record

is adequate to allow “any rational trier of fact” to find,

beyond a reasonable doubt, that Defendant used wires and the

mail as alleged in the Superseding Indictment.          See Nevils, 598

F.3d at 1164 (citations omitted).

            2.   Scheme to Defraud and Materiality

            It is undisputed that: Defendant owned and operated

MEI and its related entity The Common Law Office of America

(“CLOA”); and some of MEI’s former clients in Hawai`i testified

at trial.   Among the services offered by MEI were a mortgage

reduction program and a foreclosure assistance program.

Defendant argues some of the witnesses whom the Government

presented as former MEI clients were actually clients of

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Henry Malinay (“Malinay”), Anabel Cabebe (“Cabebe”), and others,

who started another company, Mortgage Enterprise (“ME”).

Malinay and Cabebe previously worked with Defendant, but they

started ME when Defendant was arrested and incarcerated for

charges unrelated to this case.       They attempted to utilize the

same mortgage reduction system utilized by MEI, but Defendant

contends they were unsuccessful because they did not understand

his system and/or they were incapable of carrying it out.

Defendant claims that he and MEI never defrauded anyone, and the

only fraud committed was by ME and persons acting on ME’s

behalf.    However, even assuming that ME committed fraud, that

does not negate the evidence that Defendant and MEI committed

fraud.    As James Evers, Esq.,6 testified, both the MEI system and

the ME system were fraudulent.

             Laurice Otsuka, a forensic accountant with the Federal

Bureau of Investigations (“FBI”), testified that she examined

MEI’s bank records and identified 112 clients in Hawai`i and

over 3,000 transactions involving checks deposited to MEI’s

accounts.7    The summary charts prepared by Agent Otsuka showed a


     6 Mr. Evers is an enforcement attorney with the State of
Hawai`i Office of Consumer Protection (“OCP”). His specialty is
consumer protection in the mortgage rescue fraud area.
Mr. Evers was called as a witness in Defendant’s case.

     7 Cash payments to MEI were not analyzed because of the
difficulty in determining the source of the payment.


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total of $218,527.13 received from Hawai`i clients from June 7,

2012 to December 31, 2015.      [Tr. Exhs. 903 (Mortgage Enterprise

Investments (Hawaii) Mortgage Client Income by Year), 904

(Mortgage Enterprise Investments (Hawaii) 06/07/2012 to

02/29/2016 - List of Mortgage Clients (Sorted by Last Name)).]

Agent Otsuka’s analysis did not include any of ME’s accounts;

she only analyzed MEI accounts, each of which Defendant was a

signatory for.    Defendant does not dispute that MEI received

money from Hawai`i clients; his position is that that the money

represented legitimate payments for legitimate services.

           It is undisputed that Defendant would carry a badge,

which he stated he carried as a sovereign peace officer.            He

also carried handcuffs and an identification card (“ID”) that

stated he was a Private Attorney General.         Defendant freely

admits he is not an attorney at law, and he states he always

explained to clients the difference between a Private Attorney

General, who is an attorney in fact, and an attorney at law.

The former MEI clients who testified at trial said Defendant

showed them the badge, ID, and handcuffs, and they said that,

based on the items and Defendant’s representations about the

items, they trusted him more.       They believed he was a lawyer

and/or that he was affiliated with the federal government.            Some

of the former MEI clients testified that, if they had known

Defendant was not a lawyer, they would not have signed up for

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MEI’s program.    Although some of the former MEI clients

completed their paperwork with persons other than Defendant,

they initially attended meetings with Defendant where Defendant

explained the program.

           FBI Agent Megan Crawley testified that she had never

heard of a sovereign police officer badge prior this

investigation, and she did not believe the badge that was seized

from Defendant was a legitimate badge issued by a law

enforcement agency.     Although Agent Crawley could not identify

where Defendant purchased that particular badge, she testified

that the FBI investigation found websites where similar badges

could be created, as well as PayPal records showing that

Defendant purchased multiple law enforcement badges on eBay.

           MEI clients were told to stop making their monthly

mortgage payments to their existing mortgagee or mortgage

servicer because MEI would take over their mortgages.           Instead,

a MEI client paid an initial fee to MEI and made monthly

payments to MEI of approximately one-half of the amount of the

client’s original mortgage payment, sometimes less.           MEI clients

were also told that the principal owed on their mortgage loan

would also be reduced.      The MEI mortgage reduction program was

purportedly accomplished through the filing of various




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documents, including a UCC Financing Statement8 and a Mortgage,

with the State of Hawai`i Bureau of Conveyances (“BOC”).            See,

e.g., Tr. Exhs. 200 (UCC Financing Statement for Julita and

Miguel Asuncion), 201 (Mortgage for Julita and Miguel Asuncion).

The Government’s witness, Simon Klevansky, Esq. - who was

accepted by the Court as an expert in law, specifically

debtor/creditor issues, the UCC, liens, and mortgages -

testified regarding one of the UCC Statements filed on behalf of

MEI clients.    Mr. Klevanksy stated the document did not affect

the clients’ real property, as the document purported to.            He

also testified that, to the extent someone stated the UCC

Statement would render the clients’ prior mortgage null and

void, that statement would be false.        The MEI clients who

testified at trial did not have their original mortgage

nullified, voided, or taken over by MEI.         They either faced

foreclosure or had to renegotiate their monthly mortgage

payments to their mortgagee, resulting in amounts much higher

than their monthly payments before they signed up for the MEI

program.   The OCP eventually obtained a judgment declaring MEI

mortgages void.    [Tr. Exh. 209 (Final Judgment and Permanent




     8 “UCC” refers to the Uniform Commercial Code. The portions
of the UCC that Hawai`i has adopted appear in Haw. Rev. Stat.
Chapter 490.


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Injunction in Favor of Plaintiff and Against Defendants,

recorded in the BOC on 6/15/17).9]

            Thus, there is evidence that MEI’s programs were part

of a scheme to deprive clients of money through false statements

by Defendant, and others, about MEI’s ability to reduce the

amounts owed on their mortgages.          Those false statements were

material because they promised benefits that MEI clients

believed they would obtain if they paid money to go through

MEI’s programs.    There is also evidence that Defendant made

false statements about his status as a type of attorney and a

type of peace officer.      Those false statements were also

material because they had “a natural tendency to influence, or

[were] capable of influencing” people who were recruited as

potential MEI clients because Defendant’s purported status made

him appear more trustworthy than he would have been without that

status.   See Neder, 527 U.S. at 16 (citation and quotation marks

omitted).

            When viewed in the light most favorable to the

Government, the evidence summarized above, together with the

other evidence presented at trial, is adequate to allow “any

rational trier of fact” to find, beyond a reasonable doubt, that

     9 The plaintiff was OCP and the defendants were Anabel
Gasmen Cabebe, Mortgage Enterprise Investments, Mortgage
Enterprises Investments, and Mortgage Enterprise. [Tr. Exh. 209
at 1.]


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Defendant intentionally engaged in a scheme to defraud MEI

clients and that he made material misrepresentations in

furtherance of that scheme.

           3.     Intent to Defraud

           As previously noted, the jury was instructed that the

intent to defraud is “the intent to deceive or cheat.”              [Jury

Instructions at 21 (Jury Instruction No. 18), 24 (Jury

Instruction No. 20).]      Miller now makes it clear that those

instructions were erroneous, in part because they would allow

conviction where a defendant engaged in a deception, but the

defendant did not intend to deprive the alleged victim of money

or property through that deception.        See 953 F.3d at 1102-03.

However, that type of error arising from the “deceive or cheat”

instruction was mitigated in this case by Jury Instruction

No. 21, which informed the jury that, in determining whether

Defendant had an intent to defraud, it could consider whether he

had an “honest, good faith belief in the truth of the specific

misrepresentations alleged in the indictment.”          See Jury

Instructions at 26.     If the jury determined that Defendant had

an honest, good faith belief in the truth of his statements, he

would not have either an intent to deceive or an intent to

cheat, i.e. to deprive MEI clients of money or property through

his statements.    It can be inferred from the verdict that the

jury ultimately rejected Defendant’s position that he had a good

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faith belief that his mortgage reduction and foreclosure

assistance programs worked.

           The evidence summarized above indicates that: MEI had

a significant number of clients in Hawai`i; MEI collected

significant amounts of money from those clients; but, the MEI

mortgage reduction program ultimately did not reduce any Hawai`i

client’s mortgage; and the documents MEI prepared and filed with

BOC did not have a legitimate legal basis.         During Defendant’s

testimony, he explained the theory behind MEI’s practice of

listing the MEI client as both the creditor and the debtor on

the MEI documents.     He stated that client’s “straw man,” or

legal fiction, identity is the debtor and the client’s “flesh

and blood” identity is the creditor.        Defendant also testified

that MEI mortgage documents comparable to the documents that MEI

used in Hawai`i resulted in replacement of an Illinois client’s,

John Hicks, original mortgage with a MEI mortgage.           Defendant

testified that the Hicks home was later sold because of a

divorce, but the Government presented an exhibit suggesting that

the Hicks mortgage was not voided, and the home was foreclosed

upon by the mortgagee that Defendant claimed was replaced by

MEI.   [Tr. Exh. 873 (Notice of Foreclosure (Lis Pendens) filed

in Bank of Am., Nat’l Ass’n v. John E. Hicks, et al., in the

Circuit Court of the Twelfth Judicial Circuit, Joliet, Will

County, Illinois on 1/5/15).]       The Government also presented

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evidence that Defendant was convicted in a Florida state court

of grand theft and unlawful filing of false documents or records

relating to property for his operation of a mortgage scheme

similar the one at issue in the instant case.          [Tr. Exh. 822

(Judgment in State of Florida v. Anthony Troy Williams, in the

17th Judicial Circuit, Broward County, dated 6/23/17).]

Although the Florida conviction occurred after the events at

issue in the current case, at the trial in the instant case,

Defendant made it clear that he still believes his mortgage

reduction system works, in spite of the Florida confliction.             A

reasonable jury could have considered the Florida conviction in

determining the credibility of Defendant’s current

representations about the effectiveness of his system, as well

as his credibility when he made representations about the

beliefs that he held at the times relevant to the Superseding

Indictment.

           When viewed in the light most favorable to the

Government, the evidence summarized above, together with the

other evidence presented at trial, is adequate to allow “any

rational trier of fact” to find, beyond a reasonable doubt, that

Defendant had the intent to defraud required under Miller, i.e.

an intent to deceive and cheat.




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            4.   Ruling

            The Court finds that the trial record, viewed in the

light most favorable to the Government, contains adequate

evidence for “any rational trier of fact [to find] the essential

elements of the crime[s] beyond a reasonable doubt,” including

the intent to deceive and cheat.          See Nevils, 598 F.3d at 1163.

Therefore, even in light of Miller, there was sufficient

evidence presented at trial to support Defendant’s convictions.

The Motion, as supplemented, is denied to the extent that it

requests a judgment of acquittal because of insufficient

evidence.

     C.     Selective Prosecution

            Defendant next argues he is entitled to a judgment of

acquittal because he is the victim of selective prosecution.

However, “[a] selective-prosecution claim is not a defense on

the merits to the criminal charge itself, but an independent

assertion that the prosecutor has brought the charge for reasons

forbidden by the Constitution.”       United States v. Armstrong, 517

U.S. 456, 463 (1996).

            Further, an allegation of “selective or vindictive

prosecution” “must be raised by pretrial motion if the basis for

the motion is then reasonably available and the motion can be

determined without a trial on the merits.”         Fed. R. Crim.

P. 12(b)(3)(A)(iv).     Defendant did raise the issue of selective

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prosecution in his pretrial motions, and his claim was rejected

each time.    See Order Denying Def.’s [242] Sworn Motion to

Disbar Ronald Johson [sic] for Prosecutorial Misconduct and

Racism, filed 10/1/18 (dkt. no. 345), at 3 (“the Court finds

that Defendant fails to establish selective prosecution”);

Minute Order, EO: Court Order Denying Def.’s “Motion to Show

Prosecutors Ronald G. Johnson and Gregg Paris Yates Engaged in

Unlawful Selective Prosecution Against Private Attorney General

Anthony Troy Williams,” filed 8/8/19 (dkt. no. 542) (“8/8/19

EO”).10

             Because selective prosecution is not a defense to the

merits of a criminal charge and because Defendant’s prior

selective prosecution claims have been considered and rejected,

the Motion is denied, to the extent that Defendant raises

selective prosecution as a basis for a judgment of acquittal.

     D.      Double Jeopardy

             Defendant’s final argument in support of his request

for a judgment of acquittal is that the charges in this case are

duplicative of the charges he faced in the Florida state court,

in violation of his Fifth Amendment right against double

jeopardy.    Unlike a selective prosecution argument, a defendant

     10On September 3, 2019, Defendant filed a motion for
reconsideration of the 8/8/19 EO. [Dkt. no. 570.] The motion
for reconsideration was denied in a November 27, 2019 entering
order. [Dkt. no. 667.]


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is not required to raise a double jeopardy argument prior to

trial.   A prior version of Rule 12(b)(3)(A) required double

jeopardy arguments to be raised in a pretrial motion, but that

requirement was removed in the most recent amendments to

subsection (b)(3).     See Fed. R. Crim. P. 12(b)(3) advisory

committee’s note to 2014 Amendments (“The references to ‘double

jeopardy’ and ‘statute of limitations’ were dropped from the

nonexclusive list in (b)(3)(A) to permit further debate over the

treatment of such claims.”).

           Although Defendant was not required to do so, he did

raise the double jeopardy argument in his pretrial motions, and

the argument has been rejected by this Court.          See Order Denying

Def.’s “Sworn Motion to Dismiss Superseding Indictment,” filed

10/1/18 (dkt. no. 330), at 19-21; Minute Order, EO: Court Order

Denying Def.’s “Sworn Motion to Dismiss,” filed 2/2/20 (dkt.

no. 852), at 3.    The instant Motion, as supplemented, does not

present any factual or legal basis warranting either

reconsideration of those orders or a new analysis of the double

jeopardy issue.    The Motion is therefore denied, to the extent

that Defendant raises double jeopardy as a basis for a judgment

of acquittal.




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      E.   Summary

           Having rejected all of the grounds Defendant has

presented, the portion of the Motion seeking the entry of a

judgment of acquittal is denied.

II.   Motion for a New Trial

           The Court next turns to Defendant’s argument that he

is entitled to a new trial based on Miller.

      A.   Timeliness

            The Government first argues Defendant’s request for a

new trial is untimely.      A motion for a new trial must be filed

within fourteen days after the jury verdict, unless the motion

is based upon newly discovered evidence.         Fed. R. Crim.

P. 33(b)(2).    Defendant requested a new trial in the 4/3/20

Supplement, which was filed more than fourteen days after the

jury returned its verdict.

           However, the rule’s advisory committee notes recognize

that, in light of Fed. R. Crim. P. 45(b)(1)(B), an untimely

motion for a new trial may be considered “if the court

determines that the failure to file it on time was the result of

excusable neglect.”     Fed. R. Crim. P. 33(b)(2) advisory

committee’s note to 2005 amendments.        Further, the United States

Supreme Court has held that the Rule 33(b)(2) time limitation is

not jurisdictional.     Eberhart v. United States, 546 U.S. 12, 19



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(2005) (per curiam) (holding the government forfeited the

defense that the motion for a new trial was untimely).

             The Miller opinion, which is the basis of Defendant’s

request for a new trial, did not exist during the fourteen-day

period after the jury returned its verdict in this case.

Defendant filed the 4/3/20 Supplement fourteen days after the

Ninth Circuit issued Miller.       Therefore, Defendant’s failure to

file a motion for a new trial within Rule 33(b)(2)’s fourteen-

day period was excusable, and the Government’s timeliness

argument is rejected.

     B.      Whether a New Trial is Warranted

             “The harmless and plain error standards set forth in

Rule 52 of the Federal Rules of Criminal Procedure apply to new

trial motions.”    Gear, 2019 WL 4396139, at *4 (citing United

States v. Santiago, 2019 WL 4040323, at *1 (N.D. Cal. Aug. 27,

2019)).   Rule 52 states: “(a) Harmless Error.         Any error,

defect, irregularity, or variance that does not affect

substantial rights must be disregarded.         (b) Plain Error.     A

plain error that affects substantial rights may be considered

even though it was not brought to the court’s attention.”

             Unlike in Miller, Defendant did not object to the jury

instructions with the “deceive or cheat” language.           The plain

error standard therefore applies to Defendant’s request for a

new trial.    “To establish plain error, [the defendant] must show

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that (1) there was an error, (2) the error is clear or obvious,

(3) the error affected his substantial rights, and (4) the error

seriously affected the fairness, integrity, or public reputation

of judicial proceedings.”      United States v. Johnson, 963 F.3d

847, 850 (9th Cir. 2020) (citation omitted).

           In light of Miller, there was a clear error in Jury

Instruction No. 18 and Jury Instruction No. 20.          Thus, the first

two requirements of the plain error analysis are met.           Because

this Court will assume, without deciding, that erroneous jury

instructions affected Defendant’s substantial rights, only the

fourth requirement of the plain error is at issue.           Cf. Johnson,

963 F.3d at 850.

           In the sufficiency of the evidence analysis, this

Court concluded that there was sufficient evidence in the record

to support Defendant’s convictions, even when considering the

Miller requirement of an intent to deceive and cheat.           The Court

recognizes that a motion for a new trial differs from a motion

for a judgment of acquittal because, in deciding whether to

order a new trial, a district court does not view the evidence

in the light most favorable to the Government, and the district

court is able to weigh the evidence, including making

evaluations of credibility.       See Alston, 974 F.2d at 1211.

However, even when the record is viewed in this manner, there is

overwhelming evidence supporting Defendant’s convictions.            This

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Court therefore concludes that allowing Defendant’s convictions

to stand, in spite of the Ninth Circuit’s subsequent decision in

Miller, would not “seriously affected the fairness, integrity,

or public reputation of judicial proceedings.”          See Johnson, 963

F.3d at 850 (citation omitted).       Because the fourth requirement

in the plain error analysis is not met, giving the erroneous

instructions in Jury Instruction No. 18 and Jury Instruction

No. 20 did not constitute plain error.11

           The Motion, as supplemented, is denied as to

Defendant’s request for a new trial.

                                CONCLUSION

           On the basis of the foregoing, Defendant’s “Private

Attorney General Anthony Williams Motion for Judgment of

Acquittal,” filed on March 15, 2020 and supplemented on

March 30, 2020 and April 3, 2020, is HEREBY DENIED.




     11Even if the harmless error standard applied, see Miller,
953 F.3d at 1103, this Court would still find, beyond a
reasonable doubt, that the jury would have convicted Defendant
if properly instructed because of the strength of the evidence.
Further, the jury’s rejection of Defendant’s good faith
argument, in spite of the good faith instruction, also indicates
that the jury would still have convicted Defendant, even if it
had been instructed according to Miller.


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           IT IS SO ORDERED.

           DATED AT HONOLULU, HAWAI`I, August 19, 2020.




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DEFENDANT'S PRIVATE ATTORNEY GENERAL ANTHONY WILLIAMS MOTION FOR
JUDGMENT OF ACQUITTAL




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